   Case 1:13-cv-00554-RHB ECF No. 14 filed 05/07/14 PageID.204 Page 1 of 2                           (1 of 2)




                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
  Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
      Clerk                        CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                 Filed: May 07, 2014




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                    Re: Case No. 14-1210, Diane Lara, et al v. Joseph Rupard, et al
                        Originating Case No. : 1:13-cv-00554

Dear Counsel:

  The Court issued the enclosed Order today in this case.

                                                 Sincerely yours,

                                                 s/Amy E. Gigliotti
                                                 Case Manager
                                                 Direct Dial No. 513-564-7012

cc: Ms. Tracey Cordes

Enclosure
     Case 1:13-cv-00554-RHB ECF No. 14 filed 05/07/14 PageID.205 Page 2 of 2                           (2 of 2)



                                          Case No. 14-1210

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                              ORDER

DIANE L. LARA; DEAN M. LARA

               Plaintiffs - Appellants

v.

JOSEPH M. RUPARD, M.D.; RUPARD FAMILY MEDICINE, INC.; BYRON J. BLOOM

               Defendants - Appellees



     Upon consideration of appellant’s motion to reinstate the case and appellee’s opposition;

     And further considering that the appellant has not cured the default which led to the dismissal

of the appeal;

      It is therefore ORDERED that the motion be and it hereby is DENIED.



                                                  ENTERED PURSUANT TO RULE 45(a),
                                                  RULES OF THE SIXTH CIRCUIT
                                                  Deborah S. Hunt, Clerk


Issued: May 07, 2014
                                                  ___________________________________
